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                      UNITED STATES DISTRICT COURT
            FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.1.1
                                 Eastern Division

Paul Alan Veld
                                            Plaintiff,
v.                                                           Case No.: 1:16−cv−05219
                                                             Honorable Amy J. St. Eve
Anselmo Lindberg Oliver, LLC, et al.
                                            Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Tuesday, February 21, 2017:


        MINUTE entry before the Honorable Amy J. St. Eve: In light of settlement, this
case is hereby dismissed, without prejudice, with leave to reinstate by 4/24/17. After
4/24/17, said dismissal will convert to a dismissal with prejudice. All other pending dates
and deadlines are stricken. Civil case terminated. Mailed notice(kef, )




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
generated by CM/ECF, the automated docketing system used to maintain the civil and
criminal dockets of this District. If a minute order or other document is enclosed, please
refer to it for additional information.

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